     Case 1:03-cr-00033-RJA-HBS     Document 389     Filed 05/22/06   Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                    Plaintiff,                            ORDER

       vs                                                 1:03-CR-33 (3)


JOEL NAVARRO

                    Defendant.


       The sum of $5,000.00 was deposited in the Registry of this Court on February
27, 2003 by Erick J. DeLeon, the Surety herein, to secure the appearance of Joel
Navarro, the Defendant herein, before this Court and to answer to charges pending
against him.


       Pursuant to the Order of the Hon. Richard J. Arcara filed May 1, 2006, the
Second Superseding Indictment against the Defendant was dismissed.


       N O W, upon verbal request and tender of this Court’s original receipt number
100-94918 from Erick J. DeLeon, the Surety, requesting refund of said cash bail, it
is


       O R D E R E D, that the Clerk of the Court is hereby directed to issue a U.S.
Treasury check payable to Erick J. DeLeon in the amount of $5,000.00 representing
the refund of said cash bail.


       IT IS SO ORDERED.
                                       /s/   Richard J. Arcara
                                       HONORABLE RICHARD J. ARCARA
                                       CHIEF JUDGE
                                       UNITED STATES DISTRICT COURT

DATED: May 22, 2006
